              Case 2:14-cv-01178-MJP Document 994 Filed 06/09/23 Page 1 of 3




 1
                                                               THE HON. MARSHA J. PECHMAN
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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9
     A.B., by and through her next friend CASSIE           No. 14-cv-01178-MJP
10   CORDELL TRUEBLOOD, et al.,

11                        Plaintiffs,
                                                           PLAINTIFF’S PROPOSED
12   v.                                                    EXHIBITS FOR HEARING
                                                           BEGINNING JUNE 12, 2023
13   WASHINGTON STATE DEPARTMENT OF
     SOCIAL AND HEALTH SERVICES, et al.,
14
                          Defendants.
15

16          Plaintiffs submit the following list of Exhibits for use at the upcoming hearing

17   commencing on June 12, 2023.

18          Plaintiffs have provided these Exhibits to Defendants and discussed them at length.

19   Based on these discussions, Plaintiffs do not anticipate objections from Defendants on the basis

20   of authentication.

21          Docket number is indicated in the Exhibit List where the document is already in the

22   Court record.

23

     PLAINTIFF’S PROPOSED EXHIBITS FOR HEARING -                              Disability Rights Washington
     1                                                                    315 5th Avenue South, Suite 850
     C14-01178-MJP                                                            Seattle, Washington 98104
                                                                     (206) 324-1521  Fax: (206) 957-0729
            Case 2:14-cv-01178-MJP Document 994 Filed 06/09/23 Page 2 of 3




 1          EXHIBIT                                                                   DOCKET
               NO.                              TITLE                                    NO.
 2

 3                      Declaration of Keven Bovenkamp in Support of               Dkt. No. 944
                 1      Defendant’s Response to Plaintiff’s Motion for
 4                      Material Breach and Contempt, Jan. 11, 2023
                        Declaration of Tom Kinlen in Support of Defendant’s        Dkt. No. 947
 5                      Response to Plaintiff’s Motion for Material Breach and
                 2
                        Contempt, Jan. 11, 2023
 6
                        Washington State Department of Social and Health           N/A
 7               3      Services (DSHS), Presentation to Washington Senate
                        Law and Justice Committee: Competency Services
 8                      Update, Feb. 2, 2023
                        Governor Jay Inslee Policy Brief: Transforming             Dkt. No. 939-2
 9                      Washington’s Behavioral Health Care System, Dec.
                 4
                        2018
10
                        Letter from Kevin Bovenkamp to DSHS Secretary              Dkt. 924-1 at
11               5      Jilma Meneses, RE: WSH and Potential Impacts to            23-24
                        Admissions, Sept. 9, 2022
12                      Email from Cassie Sauer, President and CEO of        Dkt. 944-7
                 6      Washington State Hospital Association, Subject: DSHS
13
                        looking for civil commitment beds—can you help?
14                      Nov 7, 2022
                        Kevin Bovenkamp, Letter to State Partners RE:        Dkt. 944-1
15                      Hospital Admission Triaging, Dec 14, 2022
                 7
16                      Washington State Health Care Authority (HCA), Long         Dkt. 946-2
                 8      Term Civil Commitment Investments and Capacity
17

18                      Washington State HCA, Implementation plan to               Dkt. 939-5
                 9      continue the expansion of civil long-term inpatient
19                      capacity, Dec. 1, 2021
                        Washington State HCA, Implementation plan to               N/A
20                      continue the expansion of civil long-term inpatient
                10
                        capacity: Status report, Oct. 15, 2022
21
                        Dr. Danna Mauch, Court Monitor Quarterly Report to         N/A
22                      the Court—Narrative Volume, Jan. 16, 2023
                11
23

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     C14-01178-MJP                                                        Seattle, Washington 98104
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            Case 2:14-cv-01178-MJP Document 994 Filed 06/09/23 Page 3 of 3




 1              12        Dr. Danna Mauch, Court Monitor Quarterly Report to        N/A
                          the Court—Narrative Volume, June 8, 2023
 2

 3
           Dated this 9th day of June, 2023.
 4
                                               Respectfully submitted,
 5

 6                                             /s/ Kimberly Mosolf
                                               David R. Carlson, WSBA No. 35767
 7                                             Kimberly Mosolf, WSBA No. 49548
                                               Elizabeth Leonard, WSBA No. 46797
 8                                             Disability Rights Washington
                                               315 Fifth Avenue South, Suite 850
 9                                             Seattle, WA 98104
                                               (206) 324-1521
10                                             davidc@dr-wa.org
                                               kimberlym@dr-wa.org
11                                             bethl@dr-wa.org

12
                                               /s/Christopher Carney
13                                             Christopher Carney, WSBA No. 30325
                                               Carney Gillespie Isitt PLLP
14                                             600 1st Avenue, Seattle, WA 98104
                                               Seattle, Washington 98104
15                                             (206) 445-0212
                                               Christopher.Carney@cgilaw.com
16

17                                             Attorneys for Plaintiffs

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     3                                                                 315 5th Avenue South, Suite 850
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